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                                                                          NEW YORK     PENNSYLVANIA      NEW JERSEY        DELAWARE

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VIA CM /ECF

October 11 , 2019

Hon . Thomas J . McAvoy
U.S . Courthouse and Federal Building
15 Henry Street
Binghamton, New York 13901

Re :    Doe v . Syracuse University
        CIV 5 : 17-cv-00787-TJM- ATB
        Letter Request to Extend Time to File Opposition Papers to Plaintiffs Motion for
        Summary Judgment

Dear Judge McAvoy :

We represent the defendant in the above action . I write to request an extension for defendant to
file its opposition to the motion for summary judgment filed by plaintiff on Monday . Dkt . # 63- 1 .
The return date for the motion was originally set for December 9, and defendant’s opposition
was due November 22. On October 9, the motion was rescheduled with a return date of
November 12, with defendant’s opposition due on October 25. We write to respectfully request
that the motion be restored to the original briefing schedule as follows :

November 22 - Defendant’s Opposition Due
November 29 - Plaintiffs Reply Due

It is respectfully submitted that good cause exists for this request . I will be traveling on business
to Denver , CO on this Sunday November 13 and not returning to New York until the evening of
Thursday November 14 , Due to this previously scheduled business travel, we will not have
sufficient time to prepare the response to plaintiffs motion in a timely manner , and provide our
client sufficient opportunity to review it in advance of filing. The opposition will require
substantial work. This is a motion for summary judgment made on a complex factual record and
plaintiff relies on many legal citations . In addition, our primary contact with our client is
currently out on maternity leave, and her responsibilities are being covered by her colleagues in
her absence, which is why we want to make sure that we give them an opportunity to review the
opposition well in advance of the filing deadline.

Plaintiffs counsel informed me that he consents to this request. This is the first request for an
extension of time for defendant to respond to plaintiffs motion for summary judgment. If this
request meets with the Court’s approval , we respectfully request that it be So Ordered .

I am available at the Court’s convenience if any additional information is needed , and we thank
the Court for its consideration of this request .
                                                                             WARD GREENBERG HELLER & REIDY LLP
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Respectfully,

/s Jeffrey D . Casey

Jeffrey D. Casey ( Bar No . 520896 )

JDC

Joshua A. Engel , Esq . (Via CM/ECF)
Catherine Josh, Esq . (Via CM/ECF)
